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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVSION

ALFIA MILLS                                                                        PLAINTIFF

       VS.                        CASE NO. 4:21-CV-00861

JAMAR BENNETT, INDIVIDUALLY AND IN HIS
OFFICIAL CAPACITY AS A POLICE OFFICER FOR
THE CITY OF BENTON                                                             DEFENDANTS

                                      PLAINTIFF’S STATUS REPORT

       COMES NOW, the Plaintiff, ALFIA MILLS, by and through counsel, SUTTER &

GILLAM, P.L.L.C. and for her status report she states:

       1. Written discovery has been exchanged.

       2. Plaintiff’s deposition has been taken, Defendant’s depositions still need to be

           conducted.

       3. Plaintiff is agreeable to mediate.

       4. Plaintiff expects that trial will take 3-4 days.

                                               Respectfully submitted,

                                               SUTTER& GILLHAM, P.L.L.C.
                                               Attorneys at Law
                                               1501 N. Pierce, Ste. 105
                                               Little Rock, AR 72207
                                               (501) 315-1910 - Office
                                               (501) 315-1916 – Facsimile
                                               Counsel for the Plaintiff(s)

                                      By:      /s/ Lucien Gillham
                                               Lucien Gillham, Ark. Bar #99-199


                                 CERTIFICATE OF SERVICE

     I hereby certify that a true copy of the foregoing has been served on this, the 6th day of
December, 2022, via ECF filing upon all counsel for the Defendants:



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William C. Mann III
PO Box 38
North Little Rock, AR 72115-0038
bmann@arml.org

Russell A. Wood
Wood Law Firm
501 E. 4th St., Suite 4
Russellville, AR 72801
rwood@woodlawfirmpa.com
                                   By:   /s/ Lucien Gillham
                                         Lucien Gillham, Ark. Bar #99-199




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